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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS

ROBERT L. COMPTON,                               )
                                                 )
Plaintiff,                                       )
                                                 )
        v.                                       )           No.     16-cv-32 JPG/RJD
                                                 )
MICHAEL A. RUSSELL and                           )
C&J BARK HAULERS, INC.,                          )
                                                 )
Defendants.                                      )
                                                 )
                                                 )

                                MEMORANDUM AND ORDER


        This matter comes before the Court on the parties’ stipulation of dismissal (doc. 28).

Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii) a plaintiff may dismiss an action

without a court order pursuant to a stipulation signed by all parties. Here, the parties have

presented a stipulation of dismissal. Pursuant to the parties’ stipulation, this case is

DISMISSED with prejudice and the Court DIRECTS the Clerk of Court to close this case.


DATED: September 22, 2016


                                               s/ J. Phil Gilbert
                                               UNITED STATES DISTRICT JUDGE
